     Case 3:24-cr-00103-DPJ-LGI            Document 62        Filed 07/01/25         Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                          CRIMINAL NO. 3:24-cr-103-DPJ-LGI

JODY E. OWENS II,
CHOKWE ANTAR LUMUMBA, and
AARON B. BANKS

                                BILL OF PARTICULARS
                        SPECIFYING PROPERTY TO BE FORFEITED

       The United States of America, by and through its United States Attorney and the

undersigned Assistant United States Attorney for the Southern District of Mississippi,

respectfully submits the following Bill of Particulars for forfeiture of property.

       The United States hereby gives notice that, in relation to the charges alleged in the

Indictment [3], it is seeking forfeiture of the following property pursuant to 18 U.S.C. §§

981(a)(1)(C), 982(a)(1) and 28 U.S.C. § 2461:

         ASSET ID           Property Description
         TBD                $3,580.94 seized on May 2, 2025, from BankPlus.

       RESPECTFULLY SUBMITTED, this the 1st day of July 2025.

                                                      PATRICK A. LEMON
                                                      Acting United States Attorney

                                              By:      /s/Charles W. Kirkham
                                                      CHARLES W. KIRKHAM
                                                      Assistant United States Attorney
                                                      Mississippi Bar Number: 102022
                                                      501 E. Court Street, Suite 4.430
                                                      Jackson, MS 39201
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     Case 3:24-cr-00103-DPJ-LGI           Document 62       Filed 07/01/25      Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the Court

using the ECF system which sent notification of such filing to the appropriate counsel in this case.

       This the 1st day of July 2025.


                                             By:     /s/Charles W. Kirkham
                                                     CHARLES W. KIRKHAM
                                                     Assistant United States Attorney




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